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                                                 RETURN OF SERVICE

                                     UNITED STATES DISTRICT COURT
                                             District of Florida

Case Number: 22-CV-81294-AMC

Plaintiff:
DONALD J. TRUMP
vs.
Defendant:
UNITED STATES OF AMERICA

For:
IFRAH LAW
1717 Pennsylvania Avenue, Nw
SUITE 650
WASHINGTON, DC 20006

Received by Statewide Process Service, Inc on the 29th day of August, 2022 at 10:43 am to be served on
UNITED STATES OF AMERICA C/O U.S. ATTORNEYS OFFICE FOR THE SOUTHERN DISTRICT OF
FLORIDA, 99 NE 4TH STREET, THIRD FLOOR, MIAMI, FL 33132.

I, HENRY PINTO, do hereby affirm that on the 29th day of August, 2022 at 1:15 pm, I:

served a GOVERNMENT AGENCY by delivering a true copy of the SUMMONS, CIVIL COVER SHEET, MOTION
FOR JUDICIAL OVERSIGHT AND ADDITIONAL RELIEF, ORDER AND EXHIBITSwith the date and time of
service along with my initials and server # endorsed thereon by me, to: H. RON DAVIDSON as ASSISTANT US
ATTORNEY for UNITED STATES OF AMERICA C/O U.S. ATTORNEYS OFFICE FOR THE SOUTHERN
DISTRICT OF FLORIDA, and informed said person of the contents therein, in compliance with State Statutes.


I certify that I am over the age of 18, have no interest in the above action, and am a Process Server, in good
standing, in the judicial circuit in which the process was served. Under penalty of perjury, I declare that I have
read the foregoing Affidavit of Service and that the facts stated in it are true to the best of my knowledge.




                                                                                  HENRY PINTO
                                                                                  PROCESS SERVER CPS # 2351

                                                                                  Statewide Process Service, Inc
                                                                                  5727 NW 7th Street
                                                                                  Suite 317
                                                                                  Miami, FL 33126
                                                                                  (786) 512-5440

                                                                                  Our Job Serial Number: OCH-2022001489


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